                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                   ASHEVILLE DIVISION

CARYN DEVINS STRICKLAND,                         )
                                                 )
                              Plaintiff,         )
                                                 )
v.                                               ) Civil No. 1:20-cv-00066-WGY
                                                 )
UNITED STATES, et al.,                           )
                                                 )
                              Defendants.        )

PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF HER RENEWED MOTION
                    FOR SUMMARY JUDGMENT

       Plaintiff Caryn Devins Strickland hereby incorporates by reference her prior memoranda

in support of summary judgment, see ECF No. 60, 93, 116, 138, and supplements those

memoranda with the following evidence obtained through discovery and legal analysis.

                          STATEMENT OF UNDISPUTED FACTS

       On September 10, 2018, Plaintiff, an assistant federal public defender in the Federal

Defender Office for the Western District of North Carolina (“FDO”), filed a report of wrongful

conduct and a request for counseling under the Fourth Circuit’s Employment Dispute Resolution

Plan. See Ex. A. As an FDO employee, Plaintiff had a right to be free of wrongful conduct,

including sexual harassment, sex discrimination, and retaliation, under the Fourth Circuit’s EDR

Plan. Ex. B; see EDR Plan Ch. II, § 1 (defining “wrongful conduct”). She also had a right to a

clear and specific set of procedures under the Plan to remedy violations of those workplace

protections, including investigation and discipline for the accused parties under Chapter IX of the

Plan, see EDR Plan Ch. IX, and dispute resolution and remedies for the complainant under

Chapter X of the Plan, see EDR Plan Ch. X, §§ 1–12.


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       A.      Sexual harassment

       Plaintiff alleged that she was subjected to quid pro quo sexual harassment by the FDO’s

First Assistant, J.P. Davis, who served as the FDO’s “principal deputy” and in a “supervisory

role over Plaintiff.” Ex. C, at 3; Ex. N, at 48. Since she started at the FDO, the First Assistant

had singled Plaintiff out for attention, including “mentoring.” Ex. A, at 15–16. Co-workers

described him as “lustful,” “fixated,” “sexually attracted,” and “smothering.” Id.; Ex. P, at 70.

       In May 2018, Plaintiff told the First Assistant that she planned to request a promotion to

the next grade on the judiciary pay scale, and, eventually, a “duty station” transfer to the FDO’s

other office location. In response, he became visibly agitated and emotional. Ex. A, at 17. He

then sent her an email in which he falsely asserted that she was not eligible for a promotion on

her upcoming work anniversary date, but nonetheless had a “plan” to raise her pay:




Id. at 36. The First Assistant’s claim that Plaintiff needed five more years of service to qualify

for a promotion was patently false (Plaintiff was at Grade 14 and would qualify for Grade 15 in

three months), as was his improper assertion that he could help her skirt such a requirement. See

Ex. C, at 9–10 (admission that Plaintiff was “eligible for a grade-level promotion to FD-15 on or

about August 21, 2018”). As Defendants’ own witnesses testified, and a subsequent wrongful

conduct investigation found,

               Ex. D, at 22 (EDR Investigation Report); see also Ex. J, at 58 (Investigator’s


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testimony that “it was reasonable to be upset because of that email”); Ex. E, at 127 (Defender’s

testimony that the email could be “misinterpreted” as “sexual favors. . . . I can see that.”).

       Over the following weeks, the First Assistant repeatedly asked Plaintiff to meet outside

the office alone, including for drinks, out-of-office meetings, and “mentoring” sessions, even

after she declined and he acknowledged that his requests were making her uncomfortable. See,

e.g., Ex. A, at 37 (offering “a drink and an ear if you need one, though I get the feeling you are

not comfortable talking to me about it”); id. at 38 (asking for a “celebratory drink”); id. at 40

(asking for a “mentoring session” and “some distance from work,” while acknowledging that

meeting in the office might make her more “comfortable”); id. at 41 (“I am free all day,

including early morning, lunch, and evening. I am hoping this will be helpful for you, please

don’t be over-anxious about it.”). He persisted in these requests even though he knew that she

was                             . Ex. M, at 2 (



       During this period, the First Assistant became increasingly angry with Plaintiff and even

told another FDO supervisor that Plaintiff “may need to get smacked a bunch”:




Ex. N, at 10. The First Assistant began interfering aggressively with Plaintiff’s job duties and

threatening disciplinary action. One time, he became so angry at Plaintiff for not attending an

optional shadowing activity that he was shaking. Ex. A, at 19; Ex. M, at 49 (

                                   ); Ex. J, at 66, 100–01 (                           Another time,
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he waited for her one evening after work when she was leaving the building alone and had

already said no to a ride home. He texted her: “Last chance for a ride, tough girl.” Ex. A, at 39.

Plaintiff felt physically intimidated, pressured, and concerned about his intentions. After this

incident, she curtailed her office hours and began bringing work home with her in the evenings

to avoid being alone with him. Id. at 21; Ex. K, at 164–65 (she was “physically afraid of him”).

        Following Plaintiff’s efforts to distance herself, the First Assistant began spreading

disparaging rumors about Plaintiff,                                       , to her other supervisors.

See, e.g., Ex. M, at 6 (

                                                      ); id. at 8 (

                       ); Ex. N, at 20–21 (stating to Appellate Chief that Plaintiff had a “fuck off

attitude” and had committed “fireable offenses”); Ex. M, at 9 (

                                                                                              ). The

First Assistant described Plaintiff as “manipulative” and “self-centered” for seeking trial

experience and professional advancement. Ex. N at 5–6. He criticized Plaintiff for working on a

life-sentence trial case, even though Plaintiff’s request to be assigned as second chair had been

granted by the Federal Defender, Anthony Martinez, and she was doing a “bang-up” job. Ex. E,

at 100 (Defender’s testimony that “[s]he did a good job, so my impression was that she was

doing good work, a good job, and hard working”); see also Ex. M, at 23 (

                                                                                               ).

        The First Assistant’s disparaging rumors undermined Plaintiff’s ambitions for a

promotion from research-and-writing attorney to assistant federal public defender—the position

she was offered when she was hired to work at the FDO. Ex. A, at 34 (offer letter for research-

and-writing attorney position “with the expectation that you will transition to an Assistant


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Defender”). Plaintiff was “on th[e] path” to becoming an AFD. Ex. E, at 103.



                   Ex. M, at 28; see also id. at 29–30 (



                                                                   ). He did so even though

Plaintiff was consistently praised for her excellent job performance, and the Defender thought

she was “hardworking,” “responsible,” and her work was of “high quality.” Ex. E, at 106–07.

       B.      Defender’s sex discrimination and retaliation

       On July 2, 2018, Plaintiff informed the Defender that she would be drawing “boundaries”

with the First Assistant and asked for the Defender’s support and confidence. Id. at 146; Ex. A,

at 22–23. In response, the Defender forced Plaintiff to meet with the First Assistant to “resolve a

breakdown in communication” and “clarify with Caryn any issue about any harassment by JP.”

Ex. N, at 22. Plaintiff repeatedly stated that she was not comfortable meeting with the First

Assistant. As the Defender’s

                                                                       Ex. D, at 81.

       During the meeting, the Defender



Id. The Defender promised to remove Plaintiff from the First Assistant’s supervision, but then

assigned her back under his supervision shortly thereafter. Ex. A, at 25–27; id. at 26 (office

chart), id. at 44, 46; see also Ex. E, at 170 (“JP was a supervisor at this time and he was going to

continue being a supervisor.”); id. at 175 (it was “fair to say that Caryn was still working in JP’s

chain of command”). After the First Assistant again requested to meet with Plaintiff alone,




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despite knowing she was avoiding him, she began calling in sick to protect herself. Ex. A, at 26;

Ex. N, at 19 (recognizing that Plaintiff’s calling in sick was not “coincidental”).

          On July 23, 2018, Plaintiff reported the harassment, and the Defender’s failure to respond

to it, to Fair Employment Opportunity Officer Nancy Dunham (“FEOO”), in the Administrative

Office of the U.S. Courts, who managed the “civil rights office for the federal courts.” See Ex. I,

at 168.

       Ex. M, at 43, 64. The FEOO told Plaintiff that her allegations were highly credible and

constituted “classic sexual harassment.” Ex. I, at 43, 138. The FEOO was “concerned for her,”

in part, because of signs of “physical danger.” Id. at 43. Plaintiff had never previously met the

FEOO and did not tell her who she was or where she was located. Id. at 26–27.

          Based on her experience of 35 years working in EEOC compliance, the FEOO “strongly

believed” Plaintiff’s allegations. Id. at 165; see id. at 164 (FEOO had seen many “inherently

unreliable” complaints and only intervened “in the few times” when a complaint was credible).

The FEOO believed she “needed to do something as soon as possible.” Id. at 43.



                                                                                           Id. at 183–

84 (

                                    ). Based on the FEOO’s advice, the AO’s Chief of Defender

Services suggested to the Defender that he transfer Plaintiff to the appeals unit, away from the

First Assistant’s supervision of the trial unit, and that he transfer her to the Asheville division

office, away from the First Assistant’s location in Charlotte. Id. at 66–67. She suggested

telework in the interim until a solution could be worked out. Id. at 90.




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a grade-level promotion”). In a sworn declaration filed in this proceeding, the Defender falsely

stated that he had no “discretion” to raise Plaintiff’s pay. ECF No. 78-3, ¶ 33; see Ex. C, at 10

(stating that “all grade-level promotions are awarded at the discretion of the Federal Defender”).

The Defender gave Plaintiff a “reclassification” to AFD in title only, which he stated was “for

purposes of case weight measurement.” Ex. A, at 52. The Defender even backdated the

reclassification to the day before Plaintiff qualified for the promotion. Ex. N, at 46. As part of

the “reclassification,” the Defender also attempted to remove Plaintiff’s locality pay and reduce

her salary by nearly 15 percent. Id. Contrary to the job description for an AFD position, which

requires the attorney to carry her own caseload, the Defender required Plaintiff to continue

serving in a research-and-writing support role. Compare Ex. A, at 52, with Ex. N, at 51–57.



                                  Ex. M, at 33

                 ; id. at 53 (                                          Thus, the Defender

required her to continue working for the trial unit supervised by the First Assistant. See Ex. A, at

52; Ex. C, at 3. The Defender also refused a transfer to the Asheville division office. See id.



                                                              See Ex. D, at 17; see also Ex. I, at

95 (FEOO had seen lack of office space “used as an excuse previously in many other cases”).

Because of the Defender’s continued failure to address the harassment, Plaintiff did not feel safe

in the office and requested to work remotely. Ex. A, at 51; see Ex. I, at 94–95.

       C.      Grossly inadequate and unfair EDR process

       In her September 10, 2018 EDR complaint, Plaintiff reported wrongful conduct by both

the First Assistant and the Defender and provided a five-page narrative summarizing her claims.


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See Ex. A. Plaintiff requested a working environment free of sexual harassment, discrimination,

and retaliation, and the opportunity to advance professionally based on merit. Id. Under Chapter

X, Section 7 of the Plan, which provides for disqualification of an employee (including a unit

executive) who is “involved in” a complaint, she requested to disqualify the accused Defender

from the EDR process. Id. at 10; see EDR Plan, Ch. I, §§ 2–3 (defining “employee”).

       In their first phone call, the EDR Coordinator told Plaintiff that it was not “helpful” for

her to have reported her complaints to the AO because “when that happens, the barriers go up,

the walls go up, people are on guard.” Ex. O. Thereafter, for more than six months, the Fourth

Circuit took no meaningful action on Plaintiff’s complaint. The lengthy period of telework

ostracized Plaintiff from her co-workers, in part,

            Ex. P, at 31. As a co-worker explained,



                                                                 Id. at 30–31. A supervising

Team Leader led Plaintiff’s co-workers in spreading disparaging rumors and joking in a staff

meeting that he would have to meet her at “Waffle House” because she was on telework. See

Answer ¶ 351. As part of an



           Ex. P, at 31. This conduct made Plaintiff’s co-worker,




                                                                                Id. at 30–31.

       During this period, the Fourth Circuit failed to conduct an appropriate investigation.

Despite the EDR Coordinator’s suggestion that he “recus[e]” himself, the Defender was allowed


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to appoint the EDR Investigator. Ex. N, at 24. The Investigator, Heather Beam, understood the

EDR Coordinator’s directions to mean that “I would investigate the allegations and bring my

report to [the Defender].” Ex. J, at 19. The Investigator informed Plaintiff that she had not

investigated her allegations against the Defender because the EDR Coordinator had excluded

them from the scope of investigation. Ex. O (Investigator’s statement that “if there’s a true

feeling of retaliation, then I think that might need to be investigated separately”); see also Ex. J,

at 117 (

Indeed, the Defender

Ex. E, at 271–72; see also Ex. N, at 44 (AO’s Office of General Counsel approved providing the

investigation report to Defender but not the First Assistant, the “accused” party).

       The Investigator had never been trained in conducting workplace investigations and has

never completed any other EDR investigation besides Plaintiff’s. Ex. J, at 12; id. at 42

(Investigator did not “recall” being given any guidance about how to investigate complaints); id.

at 43 (Investigator did not rely on any resources other than a “template” investigation report from

the judiciary’s intranet site). Contrary to the confidentiality obligations in the EDR Plan, the

Investigator allowed the accused supervisors to speak with each other during the investigation,

heightening the risk that they would influence each other’s testimony. Id. at 79–81; Ex. M, at 58

(



The Investigator did not contact any of the individuals on Plaintiff’s witness list or any other

witnesses who could have corroborated the sexual harassment. Answer ¶ 317; Ex. J, at 114

(

                           ); Ex. N, at 28. Without notifying Plaintiff, the Investigator, instead,


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       On January 30, 2019, nearly five months after Plaintiff filed her EDR complaint, she

proceeded to the mandatory mediation stage. The Fourth Circuit’s Chief Circuit Mediator, Ed

Smith, informed Plaintiff that “the Defender is from a ‘generation’ that doesn’t ‘get’ sexual

harassment.” See Answer ¶ 415; see Ex. H, at 67–69. He stated, however, that “I don’t think a

judge is going to micromanage this office and tell a federal defender how to do his job and run

this office. They’d be better off terminating him.” Ex. O; see Ex. C, at 4. The Mediator further

observed that “there really wasn’t a remedy” under the EDR Plan that “fit the situation,” because

“[n]one of these are going to do anything in this particular case.” Ex. H, at 13, 28.

       During mediation, the Mediator

         Id. at 38–40, 44–46.

                                                                                         and

because a transfer would not resolve the underlying harassment, discrimination, and retaliation.

See id.; see also Ex. I, at 167–68.

       On February 14, 2019, Plaintiff met with the Judicial Integrity Officer, who had been

newly appointed to that position. The JIO expressed uncertainty to Plaintiff about how EDR

remedies could be enforced against a federal defender office. Specifically, the JIO



Ex. F, at 130–31. The JIO explained,



                                                                                                Id.

at 131. Thus, the JIO informed Plaintiff



                                                                    Id. at 132.


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       After this meeting, the



                                            Id. at 132, 176.

                         Id. Instead, the JIO reiterated to Plaintiff that “I’d like to better

understand if FPDs are adequately protected by EDR remedies.” Ex. N, at 42–43. She described

Plaintiff’s EDR process as a “lesson learned,” explaining that “I can’t address the whys of what

has transpired in your cast [sic] to date, and I know this has been an arduous path for you.” Id.

       D.      Constructive discharge

       Having endured a hostile working environment for more than six months with no

meaningful action on her complaints, having been subjected to an unfair and biased process for

resolving her complaints, and having been told that a hearing officer would not, or could not,

order remedies even if she prevailed, Plaintiff had no choice but to resign. Plaintiff informed the

EDR Coordinator and Chief Circuit Mediator that she was no longer welcome in the FDO and

was being forced to resign. Ex. H, at 105 (statement to Mediator that clerkship was a “very

nicely packaged constructive discharge”); Ex. M, at 78. Plaintiff resigned on March 15, 2019.

Complaint ¶ 464. Though Plaintiff had already clerked for multiple federal judges, including a

judge on the Second Circuit, she accepted a temporary Fourth Circuit clerkship to prevent her

supervisors in the FDO from harming her reputation. See Ex. H, at 105; Complaint ¶ 456.

       On June 4, 2019, several months after Plaintiff resigned, the EDR Coordinator informed

Plaintiff that “disciplinary action was taken” as “a result of your report of wrongful conduct.”

Ex. N, at 45. The Chief Judge

                                                                       Ex. E, at 275

                                                               see ECF No. 78-4, ¶ 8. Evidence


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disclosed after the close of discovery, and on the day before the Chief Judge’s deposition,



                                        Ex. D, at 78–79.

                                     LEGAL STANDARD

       Summary judgment is proper when “there is no genuine issue as to any material fact and

the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). To defeat

summary judgment, “the nonmoving party must convince the court that upon the record taken as

a whole a rational trier of fact could find for the nonmoving party.” Austin v. Clark Equip. Co.,

48 F.3d 833, 836 (4th Cir. 1995).

                                          ARGUMENT

I.     Defendants Violated Plaintiff’s Equal Protection Rights.

       The Fourth Circuit held that “federal judiciary employees who occupy supervisory roles

and/or who are charged with enforcing an EDR plan can . . . be held liable under the Fifth

Amendment for their deliberate indifference to sexual harassment committed by a federal

judiciary employee or supervisor against another federal judiciary employee.” Strickland v.

United States, 32 F.4th 311, 321 (4th Cir. 2022). Plaintiff’s complaint alleged each of the

elements of a deliberate indifference claim, including that (1) she “was subjected to sexual

harassment by the First Assistant”; (2) she “reported the sexual harassment to various judiciary

employees, some of whom alerted the FPD to the harassment”; (3) Defendants “fail[ed] to take

immediate and effective action on her complaints,’ and also ‘fail[ed] to provide her with

meaningful review or remedies’” (quoting Complaint ¶ 498); and (4) Defendants’ “failure to take

proper corrective action was intentional and motivated by their intent to discriminate against her

because of her gender.” Id. at 360. The undisputed facts establish each of these elements.


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       A.      Plaintiff was subjected to sexual harassment.

       Plaintiff was subjected to sexual harassment and related sex discrimination and

retaliation. Both the First Assistant and the Defender were

                                        Ex. D, at 79, 83.



                                                        Id. (                            .

       The EDR investigation report found that



                        Ex. D, at 22. Moreover, the First Assistant’s conduct in undermining

Plaintiff’s professional advancement after she rejected his advances was “not consistent with the

professional relationship of a superior officer and his subordinate,” but was instead “more like

the conduct of a spurned suitor.” Beardsley v. Webb, 30 F.3d 524, 530 (4th Cir. 1994).

       Despite the Investigator’s clear findings



                                                     Ex. D, at 23. The Investigator had never

received any training on whose perception matters in evaluating a sexual harassment claim. See

Ex. J, at 123. Thus, the Investigator



                                                                                                Ex. D,

at 22. The Investigator’s conclusion runs contrary to judiciary guidance that “[i]t is the

perception of the individual who feels harassed that counts,” not the intent of the harasser. Ex.

N, at 60 (Federal Judicial Center Guidance); id. (“But the intent doesn’t determine whether it’s

workplace harassment; what counts is the perception of the person who feels harassed.”). It is


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F, at 60–64, 92–97 (

                                                            Currently,

                                                                              Ex. F, at 61.

                                                                                   See Ex. K, at

227                                                                       ). During the

Defender’s tenure,

                                                                . Ex. P, at 3–4.




                                       Id. at 26, 27.




                                                        Id. at 18.

       In their sworn declarations filed in this proceeding, the Defender and his Administrative

Officer falsely represented to this Court that no other EDR complaints had been filed against the

FDO. See ECF No. 78-3, ¶ 124; ECF No. 78-1, ¶ 54. The Defender falsely asserted that he had

“never even heard of any gender discrimination” in the FDO,

                                                                                   Ex. P, at 36.

       D.      Defendants acted with intent to discriminate.

       The Fourth Circuit has held that “intentional discrimination can be proven via deliberate

indifference.” Basta, 56 F.4th at 316. Because Plaintiff has proven that Defendants acted with

deliberate indifference, she has also proven that Defendants acted with “intent to discriminate

against her because of her gender.” Strickland, 32 F.4th at 360.


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       There was ample basis to disqualify the Defender, who was “involved in” the dispute as a

party accused of wrongful conduct. EDR Plan, Ch. X, § 7; Strickland, 311 F.4th at 355 (“The

refusal to disqualify the FPD created a conflict of interest . . . .”). An investigation into

Plaintiff’s allegations determined that the Defender



                      Ex. D, at 80–83. Moreover,



                                                             Ex. M, at 76.

       The Defender’s participation as an accused party concretely undermined the fairness of

Plaintiff’s EDR process. The Defender admitted that he never believed Plaintiff’s allegations of

sexual harassment, and he thus prejudged the EDR investigation. Ex. E, at 216. The Defender

also relayed false allegations that impugned Plaintiff’s integrity to the Fourth Circuit. These

false allegations were “concerning” because “having these falsehoods presented to [the Chief

Judge and EDR Coordinator] could interfere with decisions they made in the future,” including

by “undermining [Plaintiff’s] legitimacy and credibility.” Ex. I, at 130–32. Moreover, the

Defender

                                                                                                Ex. G, at

35; see also Ex. K, at 162. The Defender

                                                                                Ex. E, at 275.

       B.      Plaintiff was led to believe that the Defender was the final decisionmaker.

       Plaintiff also was “led to believe that the FPD would be the final decisionmaker in her

case.” Strickland, 32 F.4th at 356. Specifically, the Mediator told Plaintiff that a hearing officer

would not “micromanage” the Defender or “tell him how to do his job.” Ex. O; see Ex. C, at 4.


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The Judicial Integrity Officer




                       Ex. F, at 175–76. This testimony corroborates Plaintiff’s allegation that

the JIO told her that “Article III judges do not have authority to ‘manage’ a federal defender

office,” an issue which she described as “jurisdictional.” Complaint ¶ 439.

       Based on the statements of the Mediator and JIO, Plaintiff reasonably believed that as a

practical matter, an EDR presiding officer would not, or could not, order binding remedies

against a federal defender office, regardless of what the EDR Plan stated. Plaintiff’s

understanding was especially reasonable in the context of contemporaneous debates about the

importance of maintaining the independence of federal defender offices relative to the rest of the

judicial branch. As Plaintiff testified at her deposition:

               At this time, there was a big report called the Cardone Committee
               Report that had just come out and was discussing the
               recommendation that federal defender offices be taken out of the
               judiciary entirely. And there were a lot of concerns about judges
               and the judiciary in general infringing on the independence of
               federal defender offices.

               So it did not strike me as unreasonable at all that they would suggest
               that -- regardless of what the plan said on paper, that because of the
               unique role of the federal public defender office, a presiding officer
               would not order anything because it would be perceived as
               micromanaging or meddling in a federal public defender’s business.

Ex. L, at 32–33 (citing 2017 Report of the Ad Hoc Committee to Review the Criminal Justice

Act (Apr. 2018), available at https://tinyurl.com/mrkvs6ej)); see also Report of the Proceedings

of the Judicial Conference of the United States, at 23–24 (Sept. 2021) (adopting separate EDR

plan for federal public defender organizations in light of their “distinct employment relationship

and mission”). Indeed, the Defender confirmed the reasonableness of this understanding when

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he testified that he did not know whether the Chief Judge could order remedies without his

consent, explaining: “I don’t think a Court -- a judge would order a defender that you’ve got to

do this without considering whatever needs that defender has.” Ex. E, at 244–45.

        C.     Plaintiff was coerced to resign.

        The Fourth Circuit also held that “the alleged coercing of Strickland to end the

investigation stated a plausible violation of her due process rights,” and the record establishes

this claim. Strickland, 32 F.4th at 355. Fourth Circuit officials deliberately held Plaintiff’s

wrongful conduct report “in abeyance” and delayed taking disciplinary action until her EDR

process was over. Ex. O.



                                Ex. D, at 78.



                                                                        See id.

III.    Plaintiff is Entitled to Front Pay as an Equitable Remedy.

        The Fourth Circuit held that Plaintiff’s request for front pay in lieu of reinstatement

“constitute[s] an equitable remedy.” Strickland, 32 F.4th at 366. This holding accords with

longstanding precedent recognizing that “[a]lthough reinstatement of a wrongfully discharged

employee is preferable, ‘in appropriate circumstances, a district court may award front pay in

lieu of reinstatement.’” Id. (quoting Hunter v. Town of Mocksville, 897 F.3d 538, 562 (4th Cir.

2018)); see also Pollard v. E.I. du Pont de Nemours & Co., 532 U.S. 843, 846 (2001) (“In cases

in which reinstatement is not viable because of continuing hostility between the plaintiff and the

employer or its workers, . . . courts have ordered front pay as a substitute for reinstatement.”).




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       Plaintiff has pursued her “next best employment” in indigent criminal defense, but there

is no other position that would offer compensation comparable to what she received at the FDO.

Avitia v. Metro. Club of Chicago, Inc., 49 F.3d 1219, 1231 (7th Cir. 1995). Plaintiff’s lost

earnings expert, Dr. Gary Albrecht, concluded that based on the lifetime economic impact of her

discontinued employment with the FDO, the “amount required to make Ms. Strickland whole is

$3,420,610.” Ex. R. Under the circumstances, a substantial front pay award is supported by

precedent from virtually every circuit on front pay awards against government entities. See, e.g.,

Warren v. Cnty. Comm’n of Lawrence Cnty., Ala., 826 F. Supp. 2d 1299, 1313 (N.D. Ala. 2011)

(32 years); Feldman v. Philadelphia Housing Auth., 43 F.3d 823, 832–33, 841 (3d Cir. 1995) (27

years); Lussier v. Runyon, 50 F.3d 1103, 1106 (1st Cir. 1995) (“projected 25-year work

expectancy”); Padilla v. Metro-North Commuter RR, 92 F.3d 117, 126 (2nd Cir. 1996) (“well

over 20 years”); Bates v. Bd. of Educ. of Capital Sch. Dist., No. 97-394-SLR, 2000 WL 376405,

at *10 (D. Del. Mar. 31, 2000) (17 years); Newton v. Pennsylvania State Police, No. CV 18-

1639, 2022 WL 874306, at *10 (W.D. Pa. Mar. 24, 2022) (11.8 years); Gotthardt v. Nat’l

Railroad Passenger Corp., 191 F.3d 1148, 1156–58 (9th Cir. 1999) (11 years); Jackson v. City of

Cookeville, 31 F.3d 1354, 1360 (6th Cir. 1994) (11 years); O’Kell v. Haaland, 598 F. Supp. 3d

1032, 1051 (E.D. Wash. 2022) (11 years); Tinsley v. City of Charlotte, No. 3:16-CV-00656-

GCM, 2019 WL 1874044, at *6 (W.D.N.C. Apr. 26, 2019) (9 years). Plaintiff thus requests that

this Court order an appropriate award of front pay or, alternatively, conduct an “equitable

hearing” on the front pay remedy. Duke v. Uniroyal Inc., 928 F.2d 1413, 1424 (4th Cir. 1991).

                                         CONCLUSION

       This Court should grant summary judgment in Plaintiff’s favor.

       This the 1st day of June, 2023.


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                                     Respectfully Submitted,

                                     /s/ Cooper Strickland

                                     Cooper Strickland
                                     P.O. Box 92
                                     Lynn, NC 28750
                                     Tel. (828) 817-3703
                                     cooper.strickland@gmail.com

                                     Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE
I hereby certify that on the 1st day of June, 2023, I will electronically file the foregoing with the

Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the following:

       Joshua M. Kolsky at Joshua.Kolsky@usdoj.gov

       Rachael Westmoreland at Rachael.Westmoreland@usdoj.gov

       Madeline M. McMahon at madeline.m.mcmahon@usdoj.gov

       Danielle Young at Danielle.young2@usdoj.gov

                                                               /s/ Cooper Strickland
                                                               Cooper Strickland
                                                               N.C. Bar No. 43242
                                                               P.O. Box 92
                                                               Lynn, NC 28750
                                                               Tel. (828) 817-3703
                                                               cooper.strickland@gmail.com




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